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10                                                                   The Honorable Marc L. Barreca
                                                                                         Chapter 11
11                                                                 Hearing Location: TELEPHONIC
                                                     Hearing Date/Time: October 22, 2020 at 9:30 AM
12

13                         UNITED STATES BANKRUPTCY COURT
14                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE

15    In re:                                                  NO. 18-14536-MLB

16    TIMOTHY DONALD EYMAN,                                   (PROPOSED) ORDER
17                                            Debtor.
18

19             THIS MATTER came before the Court on the Debtor’s Motion To Sell Debtor’s Interest

20    In Marital Home (the “Motion”);

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               The Court having considered the pleadings filed in this matter and the Court file; now,
22

23    therefore,

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               IT IS HEREBY ORDERED that the Motion is DENIED; and,
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26
      (PROPOSED) ORDER                                    1              OFFICE OF THE ATTORNEY GENERAL
                                                                              Bankruptcy & Collections Unit
                                                                                800 Fifth Avenue, Suite 2000
                                                                             Seattle, Washington 98104-3188
                                                                        Phone: (206) 389-2187 – Fax (206) 587-5150


     Case 18-14536-MLB         Doc 304-5     Filed 10/15/20      Ent. 10/15/20 16:25:33              Pg. 1 of 3
1            IT IS FURTHER ORDERED that the Purchase and Sale Agreement made by and

2     between Timothy Donald Eyman (“Seller”) and Karen Joan Eyman (“Purchaser”) for Seller’s
3     interest in that certain real property located at 11913 59th Ave W, Mukilteo, WA, as attached to
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      the Motion is hereby null and void; and
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6            IT IS FURTHER ORDERED that Debtor Timothy Eyman or Karen Eyman shall disclose

7     the source of the proposed purchase funds and explain why these funds were not previously
8
      disclosed in the bankruptcy.
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10           IN THE ALTERNATIVE, if the sale is allowed, IT IS HEREBY ORDERED THAT:

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                 1) The Eymans’ Mukilteo home be sold for an optimal price, as to be further
12
                     determined by this court; and,
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14               2) The sale proceeds be placed in the Claims Reserve Account for payment to the

15                   State upon a verdict in State v. Eyman, Thurston County Superior Court case
16                   number 17-2-01546-34; and,
17
                 3) That Debtor Eyman provide monthly bank statements from the Claims Reserve
18
                     Account; and,
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                 4) The bankruptcy plan shall be modified such that the sale proceeds are paid to the
20

21                   State in addition to the monthly payments that are currently required under the

22                   plan.

23
                                             ///End of Order///
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26
      (PROPOSED) ORDER                                   2                OFFICE OF THE ATTORNEY GENERAL
                                                                               Bankruptcy & Collections Unit
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                                                                              Seattle, Washington 98104-3188
                                                                         Phone: (206) 389-2187 – Fax (206) 587-5150


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2     PRESENTED BY:
3     ROBERT W. FERGUSON
      Attorney General
4

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6     SUSAN M. EDISON, WSBA No. 18293
      DINA YUNKER FRANK, WSBA No. 16889
7        Assistant Attorneys General
8     ERIC S. NEWMAN, WSBA No. 31521
         Chief Litigation Counsel – Antitrust Division
9     Attorneys for the State of Washington

10
      APPROVED FOR ENTRY:
11

12

13    LARRY B. FEINSTEIN, WSBA No. 6074
      KATHRYN P. SCORDATO, WSBA No. 41922
14    Attorneys for Debtor
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26
      (PROPOSED) ORDER                                   3           OFFICE OF THE ATTORNEY GENERAL
                                                                          Bankruptcy & Collections Unit
                                                                            800 Fifth Avenue, Suite 2000
                                                                         Seattle, Washington 98104-3188
                                                                    Phone: (206) 389-2187 – Fax (206) 587-5150


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